            Case 5:12-cv-00345-MTT Document 25 Filed 02/01/13 Page 1 of 10




                             INTHE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF GEORGIA
                                       MACON DIVISION

PAUL WINDOM,                                           )
                                                       )
                   Plaintiff,                          )
                                                       )
          v.                                           )   CIVIL ACTION NO. 5:12-CV-345(MTT)
                                                       )
NORFOLK SOUTHERN RAILWAY                               )
COMPANY, et al.,                                       )
                                                       )
                   Defendants.                         )
                                                       )

                                                 ORDER

          Before the Court is Defendant Sharon R. Heyob’s Motion to Dismiss. (Doc. 11).

Heyob contends Plaintiff Paul Windom fails “to state any legally plausible claim for

relief” against her, or, alternatively, that Windom failed to exhaust his administrative

remedies against her. (Doc. 11-1 at 2-3). For the following reasons, the Motion is

DENIED.

                        I.      FACTUAL AND PROCEDURAL HISTORY1

          Windom was employed as a welder by Defendant Norfolk Southern Railway

Company (Norfolk). He alleges he was injured at work on August 6, 2010, when he

slipped while getting off a truck. Windom contends that he reported his injury to Tommy

Thornhill, his immediate supervisor. (Doc. 1 at 3). He further contends Thornhill told

Lucious Bobbitt, a managerial employee with supervisory authority over Windom.

Following Thornhill’s phone call to Bobbitt, Windom alleges that he spoke with Bobbitt

and Bobbitt “repeatedly interrogated [the] Plaintiff regarding the incident and injury.”

(Doc. 1 at 4). Windom continued to work until August 11. He then informed Thornhill
1
    The facts are taken from the Complaint (Doc. 1) and are accepted as true.
           Case 5:12-cv-00345-MTT Document 25 Filed 02/01/13 Page 2 of 10




he needed medical treatment for his injury. Windom contends Thornhill immediately

reported this information to Bobbitt. Though Windom told Thornhill he needed a

medical provider near Tifton, Thornhill instead took him to a medical doctor in Valdosta.

However, the doctor was not available and Thornhill eventually had to take Windom to

the hospital in Valdosta. Windom alleges was he was unable to work because of

injuries sustained in the August 6 accident.

          Windom was eventually charged with violating company safety rules. (Doc. 1 a

5). On August 19, 2010, “Defendant Norfolk Southern, acting through Defendant

Heyob, began writing [the] Plaintiff demanding that he provide medical records.” (Doc.

1 at 5). Defendant Sharon Heyob was Norfolk’s Manager of Administrative Services.

(Doc. 1 at 2). On September 14, Norfolk was informed that Windom was represented

by legal counsel, and that all further communication regarding the August 6 incident

should be directed to Windom’s counsel. (Doc. 1 at 5). On September 20, Norfolk

acknowledged in writing that it knew Windom was represented by counsel. (Doc. 1 at

6). On October 1, Heyob again wrote directly to Windom seeking medical records

related to the August 6 incident. (Doc. 1 at 6). On October 28, Windom filed a FELA

action2 as a result of the August 6 accident. (Doc. 1 at 6). On November 11, Heyob

again demanded that Windom provide medical records relating to the August 6

accident. (Doc. 1 at 6). Heyob also threatened to terminate Windom’s employment if

he did not comply with the demand. (Doc. 1 at 6). Windom contends Bobbitt also

called and threatened termination. (Doc. 1 at 6). On November 15, Norfolk received

Windom’s medical records, and then on December 2 Heyob terminated Windom’s

employment. (Doc. 1 at 7).
2
    Windom v. Norfolk Southern Railway Company, Civil Action Number 5:10-cv-407 (MTT).


                                                  -2-
            Case 5:12-cv-00345-MTT Document 25 Filed 02/01/13 Page 3 of 10




          Windom now brings this action pursuant to the Federal Rail Safety Act (FRSA)

against Norfolk and Sharon Heyob.3 (Doc. 1). Windom contends that reporting his

injury and seeking medical treatment are both activities protected by the FRSA.

Windom contends that Norfolk knew he “had suffered and was reporting an on the job

injury.” (Doc. 1 at 8). He contends Norfolk “planned to punish [him] at least in part

because of his report of an on the job injury.” (Doc. 1 at 8). He contends the

Defendants acted together to violate the FRSA because he reported the injury. (Doc. 1

at 8). Windom further contends that the Defendants’ actions are motivated by the

Defendants’ policy of “retaliating against and harassing and intimidating employees who

suffer and report on the job injuries.” (Doc. 1 at 8).

                            II.     MOTION TO DISMISS STANDARD

          To avoid dismissal pursuant to Fed. R. Civ. P. 12(b)(6), a complaint must contain

specific factual matter to “‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). “At the motion to dismiss stage, all well-pleaded facts are accepted as true,

and the reasonable inferences therefrom are construed in the light most favorable to the

plaintiff.” Garfield v. NDC Health Corp., 466 F.3d 1255, 1261 (11th Cir. 2006).

However, “[w]here the well-pleaded facts do not permit the court to infer more than the

mere possibility of misconduct, the complaint has alleged – but it has not ‘shown’ – that

the pleader is entitled to relief.” Iqbal, 556 U.S. at 679. “[C]onclusory allegations,

unwarranted deductions of facts or legal conclusions masquerading as facts will not

prevent dismissal.” Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir.

2002).
3
    Defendants Bobbitt and Thornhill were dismissed by Stipulation on September 13, 2012. (Doc. 7).


                                                    -3-
        Case 5:12-cv-00345-MTT Document 25 Filed 02/01/13 Page 4 of 10




                                    III.   DISCUSSION

       A.     Whether Windom Exhausted his Administrative Remedies against
              Defendant Sharon Heyob

       The FRSA requires that before a plaintiff seeks review of his FRSA claim in a

district court, he must first file a complaint with the Secretary of Labor, specifically the

Occupational Safety and Health Administration (OSHA). 49 U.S.C. § 20109(d). With

regard to an employee who believes he “has been retaliated against by an employer in

violation of … FRSA,” “[n]o particular form of complaint is required. A complaint may be

filed orally or in writing.” 29 C.F.R. §§ 1983.103(a), (b). The purpose of an OSHA

complaint is to “afford OSHA the opportunity to resolve the plaintiff’s allegations through

the administrative process.” Bozeman v. Per-Se Technology, Inc., 456 F. Supp. 2d

1282, 1358 (N.D. Ga. 2006) (citing Hanna v. WCI Communities, Inc., 348 F. Supp. 2d

1322, 1326 (S.D. Fla. 2004)). However, if OSHA “has not issued a final decision within

210 days after the filing of the complaint …, the employee may [bring an action] in the

appropriate district court.” 49 U.S.C. § 20109(d)(3).

       Windom filed a timely OSHA complaint with the United States Department of

Labor. (Doc. 11-8 at 2). For reasons unclear, Windom used the “Notice of Alleged

Safety or Health Hazards” complaint form. In the complaint heading, the establishment

named is “Norfolk Southern Corp.,” and the management official named is “S.R.

Heyob.” (Doc. 11-8 at 2). The type of business listed is “Railroad-interstate commerce

FRSA.” There are no other places on the complaint form to name specific individuals.

       Defendant Heyob contends that though Windom filed an administrative

complaint, he failed to specifically name Heyob as a “respondent in his OSHA

complaint.” (Doc. 11-1 at 8). Heyob acknowledges that she is listed as the



                                              -4-
         Case 5:12-cv-00345-MTT Document 25 Filed 02/01/13 Page 5 of 10




management official, but argues that because of his failure to list her as a “respondent,”

Windom failed to exhaust his administrative remedies against her, and thus she must be

dismissed from this action.

       Heyob cites two cases, Bozeman v. Per-Se Technology, Inc., 456 F. Supp. 2d

1282 (N.D. Ga. 2006) and Smith v. Psychiatrist Solutions, Inc., 2009 WL 903624 (N.D.

Fla.), to support this argument. Both Bozeman and Smith involve Sarbanes-Oxley

whistleblower violations. 4 Heyob contends that the administrative exhaustion process

for this type of violation is akin to the process for alleged FRSA violations. Even

assuming that the administrative process for Sarbanes-Oxley whistleblower and FRSA

whistleblower actions are similar, these two cases do not warrant Heyob’s dismissal

from this action.

       In Bozeman, the court concluded that mentioning an individual defendant in the

body of the complaint was insufficient for administrative exhaustion purposes.

Bozeman, 456 F. Supp. 2d at 1358. The court reasoned that even if it assumed the

individual defendant “‘was placed on notice that he had allegedly violated the law, that

notice has no consequence as to whether OSHA was placed on notice that it was

required to investigate the individual defendant’s action in this case.’” Id. (quoting

Hanna, 348 F. Supp. 2d at 1326). Thus, the court held that because the plaintiff “had

failed to specifically name [the proper defendants] in the heading of his administrative

complaint,” the defendants were entitled to summary judgment. Id. (emphasis added).

Similarly, in Smith, the plaintiff did not name the defendants “in the heading of her

4
 The Court notes that though the time period requirements for Sarbanes-Oxley whistleblower claims are
different, “[b]efore an employee can assert a cause of action in federal court under the … Act, the
employee must file a complaint with OSHA and afford OSHA the opportunity to resolve the allegations
administratively,” similar to FRSA whistleblower claims. Bozeman, 456 F. Supp. 2d at 1357 (internal
quotations and citation omitted).


                                                 -5-
         Case 5:12-cv-00345-MTT Document 25 Filed 02/01/13 Page 6 of 10




administrative complaint or indeed anywhere in her complaint …. Thus, [the plaintiff

was] unable to establish a claim against either of these defendants due to her failure to

properly exhaust her administrative remedies with respect to them.” Smith, 2009 WL

903624, *8 (emphasis added). Ultimately, the court held the plaintiff’s “Sarbanes- Oxley

whistleblower claim can lie against … the only defendant named in her administrative

complaint.” Id.

        Here, Windom named Norfolk as the establishment and Heyob as the

management official in the heading of his complaint. Windom contends “[i]t is obvious

that [the] Plaintiff intended for Heyob to be named specifically in the OSHA complaint –

that is why he listed her name specifically on the OSHA form in the only location that

seeks a person’s name.” (Doc. 20 at 12). The Court agrees that it is sufficiently clear

that Windom intended his OSHA complaint to be directed at Norfolk and Heyob. There

is no other location on the complaint for Windom to have named Heyob. Heyob is

clearly listed in the heading of the complaint. Thus, Bozeman and Smith are inapposite.

        Heyob also contends that “[t]he body of [the] Plaintiff’s OSHA complaint …

makes clear that Defendant NSRC is the respondent in his complaint.” (Doc. 11-1 at 9).

The Court disagrees. Reasonably interpreted, the form states that Norfolk, through its

management official, engaged in improper conduct. The specific acts described in the

form were acts of Heyob’s. Had OSHA investigated5, it would have been apparent to

OSHA that Windom was complaining of Heyob’s actions. Thus, the Court finds that



5
  As discussed above, the purpose of the OSHA administrative exhaustion requirement is to give OSHA
the opportunity to resolve the plaintiff’s allegations through the administrative process. Here, the OSHA
complaint notified OSHA that, if it were to investigate Windom’s claim, its investigation would include
Heyob.



                                                    -6-
          Case 5:12-cv-00345-MTT Document 25 Filed 02/01/13 Page 7 of 10




Windom’s failure to mention Heyob in the body of the OSHA complaint does not require

Heyob’s dismissal.

        Further, any arguments related to the form of complaint submitted by Windom

are misplaced. Heyob acknowledges that the regulations permit Windom to submit a

complaint in any form, and thus, her arguments regarding whether or not Windom

submitted the correct “whistleblower complaint” warrant no analysis.

        Heyob also contends that only one copy of Windom’s complaint was sent to

Norfolk’s Atlanta headquarters, and that Heyob never received a complaint addressed

specifically to her. This suggests, Heyob argues, that OSHA did not interpret the

complaint to identify Heyob as a respondent. The Court cannot draw this conclusion.

The complaint was sent to the only address Windom provided on the OSHA complaint

for Norfolk and Heyob. In any event, both parties admit that Windom filed a timely

complaint with OSHA, and that more than 210 days passed with no decision from

OSHA. (Doc. 1 at 2, ¶13; Doc. 10 at 2, ¶8).6 Thus, OSHA failed to officially act on

Windom’s complaint at all, and the Court does not find OSHA’s alleged failure to send

Heyob a copy of the complaint dispositive.

        Therefore, the Court finds that because Windom named Heyob, specifically, in

the heading of his properly filed OSHA complaint, he has exhausted his administrative

remedies against her.

        B.       Whether Windom States a Claim for Relief against Defendant Sharon
                 Heyob

        Heyob also contends that Windom failed to state “any legally plausible claim for

relief” against her. (Doc. 11-1 at 3). She argues that Windom’s complaint does not

6
 Heyob denies that those allegations are sufficient to confer jurisdiction on this court or to allege
satisfaction of administrative prerequisites, but admits to the underlying factual contentions.


                                                      -7-
         Case 5:12-cv-00345-MTT Document 25 Filed 02/01/13 Page 8 of 10




allege any wrongdoing by her. Further, Heyob admits that her name appears several

times in the complaint, but argues “the paragraphs in which her name appears are

actually allegations made against” Norfolk. (Doc. 11-1 at 5). Further, Heyob points to

paragraphs in the complaint that allege wrongdoing, but that mention Norfolk and other

individuals without mentioning her by name. Thus, Heyob argues that allegations in the

complaint do not permit the Court to infer more than a mere possibility of misconduct by

her.

        On the other hand, Windom contends he complies with Federal Rule of Civil

Procedure 8 requirements and has pled facts sufficient to allow the Court draw “the

reasonable inference that the [D]efendant is liable for the misconduct alleged.” (Doc. 20

at 5). He points to several specific allegations in the complaint regarding Heyob’s

actions and argues that these are not general or legal conclusions but specific factual

allegations supporting his FRSA claim against Heyob.7

        A complaint must contain sufficient factual matter that if accepted as true states a

claim to relief that is plausible on its face. Twombly, 550 U.S. at 570; Iqbal, 556 U.S. at

678. Twombly and Iqbal “do not suggest that the Supreme Court intended to rewrite

Rule 12(b)(6) or abandon notice pleadings.” Meyer v. Snyders Lance Inc., 2012 WL

6913724, *1 (M.D. Ga). Further, at this stage, “the pleadings are construed broadly

and … the allegations in the complaint are viewed in the light most favorable to the

plaintiff.” Watts v. Florida Intern. University, 495 F.3d 1289, 1295 (11th Cir. 2007)

(internal citations and quotations omitted). Though “a formulaic recitation of the

7
  Windom attached documents to his Response that are not attached to the original complaint. Heyob
contends that Windom is improperly attempting to amend his complaint. The Court did not consider these
additional documents in determining whether Windom stated a claim, because at the Motion to Dismiss
stage all facts alleged in the Complaint are accepted as true. Thus, Windom need not provide evidentiary
support of the facts alleged.


                                                  -8-
        Case 5:12-cv-00345-MTT Document 25 Filed 02/01/13 Page 9 of 10




elements … will not do,” Rule 12(b)(6) does not permit dismissal of a complaint if the

factual allegations are “enough to raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555.

       Here, Windom satisfied Rule 8’s pleading requirements. Windom’s whistleblower

claim is based on allegedly unlawful retaliation for reporting an on-the-job injury.

Windom contends that reporting his injury and seeking medical treatment are both

activities protected by the FRSA. Windom contends that Norfolk knew the Plaintiff “had

suffered and was reporting an on the job injury.” (Doc. 1 at 8). He contends Norfolk

“planned to punish [him] at least in part because of his report of an on the job injury.”

(Doc. 1 at 8). He contends the Defendants acted together to violated the FRSA

because he reported this injury. (Doc. 1 at 8).

       Though Heyob is not mentioned in every factual contention, it is unlikely any

individual would be the sole actor in this FRSA whistleblower action. Windom alleges

Heyob was Norfolk’s Manager of Administrative Services. (Doc. 1 at 2). Further,

Windom alleges that on August 19, 2010 “Defendant Norfolk Southern, acting through

Defendant Heyob, began writing [the] Plaintiff demanding that he provide medical

records.” (Doc. 1 at 5). After Norfolk was notified that Windom was represented by

counsel and all communications should be directed to his counsel, Heyob again wrote

directly to Windom seeking medical records related to the August 6 incident. (Doc. 1 at

6).

       Then, on October 28, Windom filed a FELA action as a result of the August 6

accident. (Doc. 1 at 6). On November 11, Heyob again demanded that the Plaintiff

provide medical records relating to the August 6 accident. (Doc. 1 at 6). Heyob also




                                             -9-
       Case 5:12-cv-00345-MTT Document 25 Filed 02/01/13 Page 10 of 10




threatened to terminate Windom’s employment if he did not comply with the demand.

(Doc. 1 at 6). On November 15, Norfolk received Windom’s medical records, and then

on December 2, Heyob terminated Windom’s employment. (Doc. 1 at 7).

       Windom contends that all the Defendants terminated his employment because of

his August 6 injury and for “reporting” the injury. (Doc. 1 at 8). Windom further

contends that the Defendants’ actions are motivated by the Defendants’ policy of

“retaliating against and harassing and intimidating employees who suffer and report on

the job injuries.” (Doc. 1 at 8). It is clear to the Court that Windom has alleged

sufficient facts that if accepted as true state a plausible FRSA claim against Heyob.

       Accordingly, Defendant Sharon Heyob’s Motion to Dismiss is DENIED.

       SO ORDERED, this 1st day of February, 2013.

                                          S/ Marc T. Treadwell
                                          MARC T. TREADWELL, JUDGE
                                          UNITED STATES DISTRICT COURT




                                           -10-
